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Exhibit 2-D

Form Master Ballot For Classes A6 and B5
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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class BS EFH LBO Note Guaranty Claims

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., et ai.,! Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Nn Nee Nee ee ee ee ee ee”

MASTER BALLOT FOR ACCEPTING
OR REJECTING THE FIRST AMENDED JOINT PLAN OF REORGANIZATION OF
ENERGY FUTURE HOLDINGS CORP., ENERGY FUTURE INTERMEDIATE HOLDING COMPANY
LLC, AND THE EFH/EFIH DEBTORS PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE

CLASS A6 — EFH LBO NOTE PRIMARY CLAIMS
CLASS B5 — EFH LBO NOTE GUARANTY CLAIMS

e IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT OR THE VOTING
PROCEDURES, PLEASE CALL THE DEBTORS’ SOLICITATION AGENT, EPIQ BANKRUPTCY
SOLUTIONS, LLC (THE “SOLICITATION AGENT”) AT (646) 282-2500 OR EMAIL
EFHVOTE@EPIQSYSTEMS.COM AND REFERENCE “EFH/EFIH” IN THE SUBJECT LINE.

e PLEASE READ AND FOLLOW THE ENCLOSED VOTING INSTRUCTIONS CAREFULLY BEFORE
COMPLETING THIS MASTER BALLOT.

e THIS MASTER BALLOT MUST BE ACTUALLY RECEIVED BY 4:00 P.M., PREVAILING EASTERN
TIME, ON OCTOBER 30, 2017 (THE “VOTING DEADLINE”).

e IF THE COURT CONFIRMS THE PLAN, IT WILL BIND HOLDERS OF CLAIMS AND INTERESTS
REGARDLESS OF WHETHER THEY HAVE VOTED.

e NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE, OR TO MAKE
ANY REPRESENTATION, OTHER THAN WHAT IS INCLUDED IN THE MATERIALS MAILED WITH
THIS MASTER BALLOT.

Energy Future Holdings Corp. (“EFH Corp.”), certain of its direct and indirect subsidiaries (together with EFH
Corp., the “EFH Debtors”),” Energy Future Intermediate Holding Company LLC (“EFIH”), and EFIH Finance, Inc.
(together with EFTH, the “EFIH Debtors,” and together with the EFH Debtors, the “EFH/EFIH Debtors”) are
soliciting votes with respect to the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp.,

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 1] cases, which are being jointly administered, a complete list of the debtors and the last four digits of
their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2 The other EFH Debtors are Ebasco Services of Canada Limited, EEC Holdings, Inc., EECI, Inc., EFH Australia
(No. 2) Holdings Company, EFH Finance (No. 2) Holdings Company, EFH FS Holdings Company, EFH
Renewables Company LLC, Generation Development Company LLC, LSGT Gas Company LLC, LSGT
SACROC, Inc., NCA Development Company LLC, and TXU Receivables Company.

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

Energy Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter 11 of the
Bankruptcy Code (as may be modified, amended, or supplemented from time to time, the “Plan”).’

This master ballot (the “Master Ballot”) is to be used by you because records indicate that you are the Nominee (as
defined below) of a Class A6 EFH LBO Note Primary Claim and a Class B5 EFH LBO Note Guaranty Claim as of
SEPTEMBER 6, 2017 (the “Voting Record Date”). Class A6 EFH LBO Note Primary Claims and Class B5 EFH
LBO Note Guaranty Claims include any Claim derived from or based upon EFH LBO Notes.

This Master Ballot is to be used by you as a broker, bank, or other nominee; or as the agent of a broker,
bank, or other nominee (each of the foregoing, a “Nominee”); or as the proxy holder of a Nominee or
beneficial owner for the Class A6 EFH LBO Note Primary Claims and Class BS EFH LBO Note Guaranty
Claims (the “Class A6é and B5 Claims”), to transmit to the Solicitation Agent the votes of such beneficial
holders in respect of their Class A6 and B5 Claims to accept or reject the Plan. CUSIPS for the Class A6 and
BS5 Claims entitled to vote are identified on Exhibit A attached hereto. This Ballot may not be used for any
purpose other than for submitting votes with respect to the Plan.

The Disclosure Statement for the First Amended Joint Plan of Reorganization of Energy Future Holdings Corp.,
Energy Future Intermediate Holding Company LLC, and the EFH/EFIH Debtors Pursuant to Chapter I] of the
Bankruptcy Code and ail exhibits related thereto (as may be modified, amended, or supplemented from time to time,
the “EFH Disclosure Statement”) describe the rights and treatment for each Class. The Plan and EFH Disclosure
Statement are included in the packet you are receiving with this Master Ballot (collectively, the “Solicitation
Package”). This Master Ballot may not be used for any purpose other than for casting votes to accept or reject the
Plan and making certain certifications with respect thereto. If you believe that you have received this Master
Ballot in error, please contact the Debtors’ Solicitation Agent by telephone at (646) 282-2500 or via email at

efhvote@epigsystems.com and reference “EFH/EFIH” in the subject line.

YOUR VOTE ON THIS BALLOT FOR CLASS A6 EFH LBO NOTE PRIMARY CLAIMS AND CLASS B5
EFH LBO NOTE GUARANTY CLAIMS SHALL BE APPLIED TO EACH DEBTOR AGAINST WHOM
YOU HAVE A CLASS A6 EFH LBO NOTE PRIMARY CLAIM AND CLASS B5 EFH LBO NOTE
GUARANTY CLAIM.

The Court may confirm the Plan and thereby bind all Beneficial Holders of Claims and Interests. To have the votes
of your Beneficial Holders count as either an acceptance or rejection of the Plan, you must complete and return this
Master Ballot so that the Solicitation Agent actually receives it on or before the Voting Deadline.

THE VOTING DEADLINE IS 4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER 30, 2017.
Item 1. Certification of Authority to Vote.
The undersigned certifies that, as of the Voting Record Date, the undersigned (please check the applicable box):

1 Isa broker, bank, or other nominee for the beneficial owners of the aggregate principal amount of the
Class A6 and BS Claims listed in Item 2 below, and is the record holder of such bonds, or

OO Is acting under a power of attorney and/or agency (a copy of which will be provided upon request)
granted by a broker, bank, or other nominee that is the registered holder of the aggregate principal
amount of Class A6 and B5 Claims listed in Item 2 below, or

3 Capitalized terms, used but not otherwise defined herein shall have the meanings ascribed to such terms in the

Plan.

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

[ Has been granted a proxy (an original of which is attached hereto) from a broker, bank, or other
nominee, or a beneficial owner, that is the registered holder of the aggregate principal amount of Class
A6 and B5 Claims listed in Item 2 below,

and accordingly, has full power and authority to vote to accept or reject the Plan, on behalf of the beneficial owners
of the Class A6 and B5 Claims described in Item 2.

Item 2. Class A6 and B5 Claims Vote on Plan and Item 3. Releases

The undersigned transmits the following votes and releases of Beneficial Holders of Class A6 EFH LBO Note
Primary Claims and Class BS EFH LBO Note Guaranty Claims against the Debtors and certifies that the following
Beneficial Holders of Class A6 EFH LBO Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims, as
identified by their respective customer account numbers set forth below, are Beneficial Holders of such securities as
of the Voting Record Date, and have delivered to the undersigned, as Nominee, ballots (“Ballots”) casting such
votes.

Indicate in the appropriate column below the aggregate principal amount voted for each account or attach such
information to this Master Ballot in the form of the following table. Please note that each Beneficial Holder must
vote all such of their Class A6 EFH LBO Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims to
accept or reject the Plan and may not split such vote. Any Ballot executed by the Beneficial Holder that does not
indicate an acceptance or rejection of the Plan or that indicates both an acceptance and a rejection of the Plan will
not be counted. Ifthe Beneficial Holder has checked the box on Item 3 of the Beneficial Holder Ballot pertaining to
the releases by Holders of Claims and Interests, as detailed in Article VIII.D of the Plan, please place an X in the
Item 3. column below. The full text of Article VIII.D is duplicated in the Master Ballot Instructions.

A SEPARATE MASTER BALLOT MUST BE USED FOR EACH CUSIP.

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., e¢ al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

CUSIP VOTED ON THIS MASTER BALLOT
(CUSIP NO.)
Your Customer Principal Amount Held Item 2 Item 3
Account Number for as of Voting Record
Each Beneficial Owner Date Indicate the vote cast on the If the box in
of Voting Classes A6 Beneficial Holder Ballot by Item 3 of the
and BS placing an “X” in the Beneficial
appropriate column below. Holder Ballot
was completed,
place an “X” in
Accept the Reject the the column
Plan or Plan or below
1 $
2 $
3 $
4 $
5 $
6 $
TOTALS | $

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

Item 4. Certification as to Transcription of Information from Item 4 of the Ballots as to Class A6 EFH LBO
Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims Voted Through Other Ballots.

The undersigned certifies that the following information is a true and accurate schedule on which the undersigned
has transcribed the information, if any, provided in Item 4 of each Beneficial Ballot received from a Beneficial
Owner. Please use additional sheets of paper if necessary.

TRANSCRIBE FROM ITEM 4 OF THE BENEFICIAL HOLDER BALLOTS:

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Item 5. Certifications.
Upon execution of this Master Ballot, the undersigned certifies that:
1. it has received a copy of the EFH Disclosure Statement, the Plan, the Ballots and the remainder of the

Solicitation Package and has delivered the same to the Beneficial Holders of the Class A6 and B5 Claims
listed in Item 2 above;

2. it has received appropriate voting instructions from each Beneficial Holder listed in Item 2 of this Master
Ballot; or

3. it is the registered Beneficial Holder of the securities being voted, or

4. it has been authorized by each such Beneficial Holder to vote on the Plan;

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
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5. it has properly disclosed: (a) the number of Beneficial Holders who completed Ballots; (b) the respective
amounts of the Class A6 EFH LBO Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims
owned, as the case may be, by each Beneficial Holder who completed a Ballot; (c) each such Beneficial
Holder’s respective vote concerning the Plan; (e) each such Beneficial Holder’s certification as to other
Class A6 EFH LBO Note Primary Claims and Class BS EFH LBO Note Guaranty Claims voted; and (f) the
customer account or other identification number for each such Beneficial Holder; and

6. it will maintain Ballots and evidence of separate transactions returned by Beneficial Holders (whether

properly completed or defective) for at least one year after the EFH Effective Date and disclose all such
information to the Bankruptcy Court or the Debtors, as the case may be, if so ordered.

Name of Nominee:

(Print or Type)
Participant Number:

Name of Proxy Holder or Agent for Nominee (if applicable):

(Print or Type)

Signature:

Name of Signatory:

Title:
Address:

Date Completed:
Email Address:

THIS MASTER BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING DEADLINE, WHICH IS
4:00 P.M. (PREVAILING EASTERN TIME) ON OCTOBER 30, 2017.

BALLOTS RECEIVED VIA EMAIL OR FACSIMILE WILL NOT BE COUNTED.
IF YOU HAVE ANY QUESTIONS REGARDING THIS BALLOT OR THE VOTING INSTRUCTIONS,
PLEASE CALL THE DEBTORS’ SOLICITATION AGENT,

EPIQ BANKRUPTCY SOLUTIONS, LLC, AT (646) 282-2500 OR EMAIL
EFHVOTE@EPIQSYSTEMS.COM AND REFERENCE “EFH/EFTH” IN THE SUBJECT LINE.

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class BS EFH LBO Note Guaranty Claims

PLEASE COMPLETE, SIGN AND, DATE THE MASTER BALLOT AND RETURN IT WITH AN
ORIGINAL SIGNATURE PROMPTLY TO:

Via First Class Mail, Overnight Courier or Hand Delivery:

EFH/EFIH Ballot Processing
c/o Epiq Bankruptcy Solutions, LLC
777 Third Avenue, 12" Floor
New York, NY 10017

YOUR MASTER BALLOT MUST BE ACTUALLY RECEIVED BY THE VOTING DEADLINE, WHICH
IS 4:00 P.M., PREVAILING EASTERN TIME, ON OCTOBER 30, 2017

IF YOU HAVE ANY QUESTIONS REGARDING THIS MASTER BALLOT OR THE INSTRUCTIONS,
PLEASE CALL THE DEBTORS’ SOLICITATION AGENT,
EPIQ BANKRUPTCY SOLUTIONS, LLC, AT (646) 282-2500 OR EMAIL EFHVOTE@EPIOQSYSTEMS.COM
AND REFERENCE “EFH/EFTH” IN THE SUBJECT LINE.

VOTING INSTRUCTIONS

1. As described in the EFH Disclosure Statement, the Debtors are soliciting the votes of Beneficial Holders of
Class A6 EFH LBO Note Primary Claims and Class B5 EFH LBO Note Guaranty Claims with respect to
the Plan referred to in the EFH Disclosure Statement. The Plan and EFH Disclosure Statement are
included in the Solicitation Package you are receiving with the Ballot. Capitalized terms used but not
defined herein shall have the meanings assigned to them in the Plan.

2. The Plan can be confirmed by the Court and thereby made binding upon you if it is accepted by the
Beneficial Holders of at least two-thirds in amount and more than one-half in number of Claims in at least
one class of creditors that votes on the Plan and if the Plan otherwise satisfies the requirements for
confirmation set forth in section 1129(a) of the Bankruptcy Code.

3. You should immediately distribute the Ballots and the Solicitation Package to all Beneficial Holders of
Class A6 and BS Claims and take any action required to enable each such Beneficial Holder to timely vote
the Claims that it holds. Any Ballot returned to you by a Beneficial Holder of a Claim shall not be counted
for purposes of accepting or rejecting the Plan until you properly complete and deliver, to the Solicitation
Agent, a Master Ballot that reflects the vote of such Beneficial Holders by 4:00 p.m. (prevailing Eastern
Time) on October 30, 2017, or otherwise validate the Ballot in a manner acceptable to the Solicitation
Agent.

If you are transmitting the votes of any beneficial owners of Class A6 and B5 Claims other than yourself,
you may either:

(a) “Pre-validate” the individual Beneficial Holder Ballot contained in the Solicitation
Package and then forward the Solicitation Package to the Beneficial Holder of the Class
A6 and BS Claim for voting within five (5) Business Days after the receipt by such
Nominee of the Solicitation Package, with the Beneficial Holder then returning the
individual Beneficial Holder Ballot directly to the Solicitation Agent in the return
envelope provided in the Solicitation Package. A Nominee “pre-validates” a Beneficial
Holder Ballot by signing the Ballot and including their DTC participant number;
indicating the account number of the Beneficial Holder and the principal amount of Class
A6 EFH LBO Note Primary Claims and Class BS EFH LBO Note Guaranty Claims held
by the Nominee for such Beneficial Holder, and then forwarding the Ballot together with

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Class A6 EFH LBO Note Primary Claims and
Class BS EFH LBO Note Guaranty Claims

the Solicitation Package to the Beneficial Holder. The Beneficial Holder then completes
the information requested on the Ballot and returns the Ballot directly to the Solicitation
Agent. A list of the Beneficial Holders to whom “pre-validated” Ballots were delivered
should be maintained by nominees for inspection for at least one year from the EFH
Effective Date; OR

(b) Within five (5) Business Days after receipt by such Nominee of the Solicitation Package,
forward the Solicitation Package to the Beneficial Holder of the Class A6 and B5 Claim
for voting along with a return envelope provided by and addressed to the Nominee, with
the beneficial owner then returning the individual Beneficial Holder Ballot to the
Nominee. In such case, the Nominee will tabulate the votes of its respective Beneficial
Owners on a Master Ballot that will be provided to the Nominee separately by the
Solicitation Agent, in accordance with any instructions set forth in the instructions to the
Master Ballot, and then return the Master Ballot to the Solicitation Agent. The Nominee
should advise the Beneficial Holders to return their individual Beneficial Holder Ballots
to the Nominee by a date calculated by the Nominee to allow it to prepare and return the
Master Ballot to the Solicitation Agent so that the Master Ballot is actually received by
the Solicitation Agent on or before the Voting Deadline.

With regard to any Ballots returned to you by a Beneficial Holder, you must: (a) compile and validate the
votes and other relevant information of each such Beneficial Holder on the Master Ballot using the
customer name or account number assigned by you to each such Beneficial Holder; (b) execute the Master
Ballot; (c) transmit such Master Ballot to the Solicitation Agent by the Voting Deadline; and (d) retain such
Ballots from Beneficial Holders, whether in hard copy or by electronic direction, in your files for a period
of one year after the EFH Effective Date. You may be ordered to produce the Ballots to the Debtors or the
Bankruptcy Court.

The time by which a Ballot is actually received by the Solicitation Agent shall be the time used to
determine whether a Ballot has been submitted by the Voting Deadline. The Voting Deadline is

October 30, 2017, at 4:00 p.m., prevailing Eastern Time.

If a Ballot is received after the Voting Deadline, it will not be counted unless the Debtors determine
otherwise or as permitted by applicable law or court order. In all cases, Beneficial Holders should allow
sufficient time to assure timely delivery. No Ballot should be sent to the Debtors or the Debtors’ financial
or legal advisors. A Ballot will not be counted unless received by the Solicitation Agent.

If multiple Master Ballots are received from the same Nominee with respect to the same Ballot belonging
to a Beneficial Holder of a Claim prior to the Voting Deadline, the vote on the last properly completed
Master Ballot timely received will supersede and revoke the vote of such Beneficial Holder on any earlier
received Master Ballot.

If a Holder holds a Claim or Interest, as applicable, in a Voting Class against multiple Debtors, a vote on
their Ballot will apply to all Debtors against whom such Holder or Nominee has a Claim or Interest, as
applicable, in that Voting Class.

If a voter simultaneously casts inconsistent duplicate Ballots, with respect to the same Claim, such Ballots
shall not be counted.

The Ballot is not a letter of transmittal and may not be used for any purpose other than to vote to accept or
reject the Plan and to make certain certifications with respect thereto. Accordingly, at this time, creditors

should not surrender certificates or instruments representing or evidencing their Claims, and the Debtors
will not accept delivery of any such certificates or instruments surrendered together with a Ballot.

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et ai.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class B5 EFH LBO Note Guaranty Claims

The Ballot does not constitute, and shall not be deemed to be: (a) a Proof of Claim or Interest; or (b) an
assertion or admission with respect to any Claim or Interest.

Please be sure to sign and date your Master Ballot. You should indicate that you are signing a Master Ballot
in your capacity as a trustee, executor, administrator, guardian, attorney in fact, officer of a corporation, or
otherwise acting in a fiduciary or representative capacity and, if required or requested by the Solicitation
Agent, the Debtors, or the Bankruptcy Court, must submit proper evidence to the requesting party to so act
on behalf of such Beneficial Holder. In addition, please provide your name and mailing address if it is
different from that set forth on the attached mailing label or if no such mailing label is attached to the
Master Ballot.

If you are both the Nominee and the Beneficial Holder of any of the Class A6 and B5 Claims and you wish
to vote such Class A6 and BS Claims, you may return a Ballot or Master Ballot for such Class A6 and B5
Claims and you must vote your entire Class A6 and B5 Claims to either to accept or reject the Plan and
may not split your vote. Accordingly, a Ballot, other than a Master Ballot with the votes of multiple
holders, that partially rejects and partially accepts the Plan will not be counted.

The following Ballots and Master Ballots shall not be counted in determining the acceptance or rejection of
the Plan: (a) any Ballot or Master Ballot that is illegible or contains insufficient information to permit the
identification of the Beneficial Holder of the Claim; (b) any Ballot or Master Ballot cast by a Party that
does not hold a Claim in a Class that is entitled to vote on the Plan; (c) any unsigned Ballot or Master
Ballot; (d) any Ballot or Master Ballot that does not contain an original signature; (e) any Ballot or Master
Ballot not marked to accept or reject the Plan; and (f) any Ballot or Master Ballot submitted by any party
not entitled to cast a vote with respect to the Plan.

For purposes of the numerosity requirement of section 1126(c) of the Bankruptcy Code, separate Claims
held by a single Creditor in a particular Class will be aggregated and treated as if such Creditor held one
Claim in such Class, and all votes related to such Claim will be treated as a single vote to accept or reject
the Plan; provided, however, that if separate affiliated entities hold Claims in a particular Class, these
Claims will not be aggregated and will not be treated as if such Creditor held one Claim in such Class, and
the vote of each affiliated entity will be counted separately as a vote to accept or reject the Plan.

The following additional rules shall apply to Master Ballots:

Votes cast by Beneficial Holders through a Nominee will be applied against the positions held by such
entities in the Class A6 and BS Claims as of the Record Date, as evidenced by the record and depository
listings;

Votes submitted by a Nominee, whether pursuant to a Master Ballot or pre-validated Beneficial Holder
Ballots, will not be counted in excess of the record amount of the Class A6 and B5 Claims held by such
Nominee;

To the extent that conflicting votes or “overvotes” are submitted by a Nominee, whether pursuant to a
Master Ballot or pre-validated Beneficial Holder Ballots, the Solicitation Agent will attempt to reconcile
discrepancies with the Nominee;

To the extent that overvotes on a Master Ballot or pre-validated Beneficial Holder Ballots are not
reconcilable prior to the preparation of the vote certification, the Solicitation Agent will apply the votes to
accept and reject the Plan in the same proportion as the votes to accept and reject the Plan submitted on the
Master Ballot or pre-validated Beneficial Holder Ballots that contained the overvote, but only to the extent
of the Nominee’s position in Class A6é and B5 Claims; and

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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ARTICLE VIILD OF THE PLAN PROVIDES FOR THE FOLLOWING RELEASES BY HOLDERS OF

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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class BS EFH LBO Note Guaranty Claims

For purposes of tabulating votes, each Beneficial Holder holding through a particular account will be
deemed to have voted the principal amount relating its holding in that particular account, although the

Solicitation Agent may be asked to adjust such principal amount to reflect the claim amount.

CLAIMS AND INTERESTS (THE “RELEASES”):

EXCEPT AS OTHERWISE PROVIDED IN THE PLAN, AS OF THE EFH EFFECTIVE
DATE, EACH RELEASING PARTY IS DEEMED TO HAVE RELEASED AND
DISCHARGED EACH DEBTOR, REORGANIZED EFH/EFIH DEBTOR, AND
RELEASED PARTY FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION,
INCLUDING CLAIMS AND CAUSES OF ACTION IDENTIFIED, CLAIMED, OR
RELEASED IN THE STANDING MOTIONS, THE LITIGATION LETTERS, OR THE
DISINTERESTED DIRECTORS SETTLEMENT, AS WELL AS ALL OTHER CLAIMS
AND CAUSES OF ACTION, WHETHER KNOWN OR UNKNOWN, INCLUDING ANY
DERIVATIVE CLAIMS, ASSERTED ON BEHALF OF THE DEBTORS, THAT SUCH
ENTITY WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT (WHETHER
INDIVIDUALLY OR COLLECTIVELY), BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS (INCLUDING
THE MANAGEMENT, OWNERSHIP OR OPERATION THEREOF), THE DEBTORS’
IN- OR OUT-OF-COURT RESTRUCTURING EFFORTS, INTERCOMPANY
TRANSACTIONS GNCLUDING DIVIDENDS PAID), TRANSACTIONS PURSUANT
AND/OR RELATED TO THE MASTER SEPARATION AGREEMENT DATED
DECEMBER 12, 2001, THE TCEH CREDIT AGREEMENT, THE TCEH FIRST LIEN
NOTES, THE CASH COLLATERAL ORDER (AND ANY PAYMENTS OR TRANSFERS
IN CONNECTION THEREWITH), THE TCEH FIRST LIEN INTERCREDITOR
AGREEMENT, THE LIABILITY MANAGEMENT PROGRAM, THE TAX SHARING
AGREEMENTS, THE 2007 ACQUISITION, THE MANAGEMENT AGREEMENT, THE
2009 AMENDMENT TO THE TCEH CREDIT AGREEMENT, THE 2011 AMEND AND
EXTEND TRANSACTIONS, THE 2005 ONCOR TRANSFER, THE 2013 REVOLVER
EXTENSION, THE LUMINANT MAKEWHOLE SETTLEMENT, THE TAX AND
INTEREST MAKEWHOLE AGREEMENTS, THE TCEH INTERCOMPANY NOTES,
THE SHARED SERVICES, ANY PREFERENCE OR AVOIDANCE CLAIM PURSUANT
TO SECTIONS 544, 547, 548, AND 549 OF THE BANKRUPTCY CODE, THE
FORMULATION, PREPARATION, DISSEMINATION, NEGOTIATION, OR FILING OF
THE TERMINATED RESTRUCTURING SUPPORT AGREEMENT, THE PLAN
SUPPORT AGREEMENT, THE NEE PLAN SUPPORT AGREEMENT, THE EFIH
UNSECURED CREDITOR PLAN SUPPORT AGREEMENT, THE SEMPRA PLAN
SUPPORT AGREEMENT, THE EFH/EFIH COMMITTEE SETTLEMENT, THE EFIH
SETTLEMENT AGREEMENT, THE EFIH FIRST LIEN PRINCIPAL SETTLEMENT,
THE ORIGINAL CONFIRMED PLAN, THE NEXTERA PLAN, OR ANY
RESTRUCTURING TRANSACTION, CONTRACT, INSTRUMENT, RELEASE, OR
OTHER AGREEMENT OR DOCUMENT (INCLUDING PROVIDING ANY LEGAL
OPINION REQUESTED BY ANY ENTITY REGARDING ANY TRANSACTION,
CONTRACT, INSTRUMENT, DOCUMENT, OR OTHER AGREEMENT
CONTEMPLATED BY THE PLAN OR THE RELIANCE BY ANY RELEASED PARTY
ON THE PLAN OR THE EFH CONFIRMATION ORDER IN LIEU OF SUCH LEGAL
OPINION) CREATED OR ENTERED INTO IN CONNECTION WITH THE PLAN
SUPPORT AGREEMENT, THE NEE PLAN SUPPORT AGREEMENT, THE EFIH
UNSECURED CREDITOR PLAN SUPPORT AGREEMENT, THE SEMPRA PLAN
SUPPORT AGREEMENT, THE EFIH SETTLEMENT AGREEMENT, THE EFH/EFIH
COMMITTEE SETTLEMENT, THE PIK SETTLEMENT (WHETHER TERMINATED
PURSUANT TO ITS TERMS OR OTHERWISE) AND ANY DIRECTION TAKEN BY

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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Energy Future Holdings Corp., et al.

Master Ballot for

Class A6 EFH LBO Note Primary Claims and
Class BS EFH LBO Note Guaranty Claims

THE EFIH UNSECURED NOTES TRUSTEE IN CONNECTION THEREWITH (PRIOR
TO TERMINATION) THE TERMINATED RESTRUCTURING SUPPORT
AGREEMENT, THE EFH DISCLOSURE STATEMENT, THE TCEH DISCLOSURE
STATEMENT, THE PLAN, THE TRANSACTION AGREEMENTS, THE DIP
FACILITIES, THE CHAPTER 11 CASES, THE FILING OF THE CHAPTER 11 CASES,
THE PURSUIT OF CONFIRMATION, THE PURSUIT OF CONSUMMATION, THE
ADMINISTRATION AND IMPLEMENTATION OF THE PLAN, INCLUDING THE
ISSUANCE OR DISTRIBUTION OF SECURITIES PURSUANT TO THE PLAN, OR THE
DISTRIBUTION OF PROPERTY UNDER THE PLAN, THE TRANSACTION
AGREEMENTS, OR ANY OTHER RELATED AGREEMENT, OR UPON ANY OTHER
ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER
OCCURRENCE TAKING PLACE ON OR BEFORE THE EFH EFFECTIVE DATE
RELATED OR RELATING TO THE FOREGOING. NOTWITHSTANDING ANYTHING
TO THE CONTRARY IN THE FOREGOING, THE RELEASES SET FORTH ABOVE
DO NOT RELEASE (1) ANY POST-EFH EFFECTIVE DATE OBLIGATIONS OF ANY
PARTY OR’ ENTITY UNDER THE PLAN, (DANY RESTRUCTURING
TRANSACTION, (ID ANY DOCUMENT, INSTRUMENT, OR AGREEMENT
(INCLUDING THOSE SET FORTH IN THE PLAN SUPPLEMENT) EXECUTED TO
IMPLEMENT THE PLAN, AND (IV) THE CLAIMS AND CAUSES OF ACTION SET
FORTH IN SECTION 6.12 OF THE PARENT DISCLOSURE LETTER DELIVERED IN
CONNECTION WITH THE NEE MERGER AGREEMENT; PROVIDED, HOWEVER,
THAT SUCH CLAIMS AND CAUSES OF ACTION SET FORTH IN SECTION 6.12 OF
SUCH PARENT DISCLOSURE LETTER DELIVERED IN CONNECTION WITH THE
NEE MERGER AGREEMENT SHALL BE SUBJECT TO TREATMENT PURSUANT TO
THE PLAN AND SHALL BE DISCHARGED AS SET FORTH IN ARTICLE VIILA OF
THE PLAN. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, THE RELEASES SET FORTH ABOVE DO NOT RELEASE ANY
CLAIMS OR CAUSES OF ACTION AGAINST ONE OR MORE OF NEXTERA AND ITS
CURRENT AND FORMER SUBSIDIARIES (THE “NEE RELEASED
PARTIES”) RELATING TO THE PURSUIT OF APPROVAL OF THE TRANSACTIONS
CONTEMPLATED IN THE ORIGINAL CONFIRMED PLAN (INCLUDING, FOR THE
AVOIDANCE OF DOUBT, CLAIMS OR CAUSES OF ACTION REGARDING THE
EFFECT OF THE FILING OF DOCKET NO. 7028 ON APPROVAL OF THE
TRANSACTIONS CONTEMPLATED IN THE ORIGINAL CONFIRMED PLAN) OR
CLAIMS OR CAUSES OF ACTION THAT MAY BE BROUGHT BY ONE OR MORE
OF THE NEE RELEASED PARTIES AGAINST ANY PARTY WHO BRINGS A CLAIM
OR CAUSE OF ACTION AGAINST THE NEE RELEASED PARTIES RELATING TO
THE PURSUIT OF APPROVAL OF THE TRANSACTIONS CONTEMPLATED IN THE
ORIGINAL CONFIRMED PLAN; PROVIDED, HOWEVER, FOR THE AVOIDANCE OF
DOUBT, THAT ANY RELEASES SET FORTH ABOVE SOLELY TO THE EXTENT
APPLICABLE PURSUANT TO THE TERMS SET FORTH ABOVE, SHALL APPLY TO
THE NEE RELEASED PARTIES’ CURRENT AND FORMER DIRECTORS,
MANAGERS, OFFICERS, INDIVIDUAL EQUITY HOLDERS (REGARDLESS OF
WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR_ INDIRECTLY),
ATTORNEYS, ACCOUNTANTS, INVESTMENT BANKERS, CONSULTANTS,
REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR CAPACITY
AS SUCH. NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THE
FOREGOING, AND FOR THE AVOIDANCE OF DOUBT, THE TCEH SETTLEMENT
CLAIM SHALL BE TREATED, RELEASED, AND DISCHARGED ON THE EFH
EFFECTIVE DATE. FOR THE AVOIDANCE OF DOUBT, () THE RELEASING
PARTIES PROVIDED THE RELEASE SET FORTH IN ARTICLE VII.D OF THE PLAN
FOR ALL CLAIMS AND CAUSES OF ACTION THAT RELATE TO THE TCEH
DEBTORS, REORGANIZED TCEH DEBTORS, EFH SHARED SERVICES DEBTORS,

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REORGANIZED EFH SHARED SERVICES DEBTORS, OR ANY NON-DEBTOR
AFFILIATE TO BE TRANSFERRED TO THE REORGANIZED TCEH DEBTORS,
INCLUDING EFH PROPERTIES COMPANY, AS OF THE TCEH EFFECTIVE DATE;
AND (ID) THE RELEASING PARTIES SHALL PROVIDE THE RELEASE SET FORTH
IN ARTICLE VIIL.D OF THE PLAN FOR ALL CLAIMS AND CAUSES OF ACTION
THAT RELATE TO THE EFH DEBTORS, REORGANIZED EFH DEBTORS, EFIH
DEBTORS, OR REORGANIZED EFIH DEBTORS AS OF THE EFH EFFECTIVE DATE;
PROVIDED THAT ANY AND ALL INTERCOMPANY CLAIMS (OTHER THAN THE
TCEH SETTLEMENT CLAIM) HELD BY OR HELD AGAINST THE TCEH DEBTORS,
REORGANIZED TCEH DEBTORS, EFH SHARED SERVICES DEBTORS,
REORGANIZED EFH SHARED SERVICES DEBTORS, OR ANY NON-DEBTOR
AFFILIATE TO BE TRANSFERRED TO THE REORGANIZED TCEH DEBTORS,
INCLUDING EFH PROPERTIES COMPANY, WERE RELEASED AS OF THE TCEH
EFFECTIVE DATE.

IMPORTANT INFORMATION REGARDING THE RELEASES:

UNDER THE PLAN, “RELEASING PARTIES’ MEANS, COLLECTIVELY, AND IN EACH CASE
ONLY IN ITS CAPACITY AS SUCH: (A) THE EFH/EFIH PLAN SUPPORTERS; (B) EFH MERGER SUB; (C)
INTERMEDIARY HOLDCO; (D) PARENT; (E) THE PLAN SPONSOR; (F) THE BACKSTOP PARTIES; (G)
HOLDERS OF TCEH FIRST LIEN CLAIMS; (H) HOLDERS OF TCEH SECOND LIEN NOTE CLAIMS;
(1) HOLDERS OF TCEH UNSECURED NOTE CLAIMS; (J) HOLDERS OF EFH LEGACY NOTE CLAIMS;
(K) HOLDERS OF EFH UNEXCHANGED NOTE CLAIMS; (L) HOLDERS OF EFH LBO NOTE PRIMARY
CLAIMS; (M) HOLDERS OF EFIH UNSECURED NOTE CLAIMS; (N) HOLDERS OF EFH LBO NOTE
GUARANTY CLAIMS; (O) THE DIP LENDERS; (P) THE TCEH FIRST LIEN AGENT; (Q) THE INDENTURE
TRUSTEES; (R) THE DEALER MANAGERS; (S) TEF; (T) TEXAS HOLDINGS; (U) ONCOR; (V) FUNDS
AND ACCOUNTS MANAGED OR ADVISED BY KOHLBERG KRAVIS ROBERTS & CO., L.P., TPG
CAPITAL, L.P. OR GOLDMAN, SACHS & CO. THAT HOLD DIRECT OR INDIRECT INTERESTS IN TEXAS
HOLDINGS, TEF, OR EFH CORP.; (W) THE COMMITTEES AND EACH OF THEIR RESPECTIVE
MEMBERS; (X) HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST THE TCEH DEBTORS OTHER
THAN EFCH; (Y) HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST EFCH; (Z) HOLDERS OF
EFIH FIRST LIEN NOTE CLAIMS; (AA) HOLDERS OF EFIH SECOND LIEN NOTE CLAIMS; (BB)
HOLDERS OF GENERAL UNSECURED CLAIMS AGAINST THE EFIH DEBTORS; (CC) HOLDERS OF
GENERAL UNSECURED CLAIMS AGAINST EFH CORP.; (DD) HOLDERS OF GENERAL UNSECURED
CLAIMS AGAINST THE EFH DEBTORS OTHER THAN EFH CORP.; (EE) HOLDERS OF GENERAL
UNSECURED CLAIMS AGAINST THE EFH SHARED SERVICES DEBTORS; (FF) ALL HOLDERS OF
CLAIMS AND INTERESTS THAT ARE DEEMED TO ACCEPT THE PLAN; (GG) ALL HOLDERS OF
CLAIMS AND INTERESTS WHO VOTE TO ACCEPT THE PLAN; (HH) ALL HOLDERS IN VOTING
CLASSES WHO ABSTAIN FROM VOTING ON THE PLAN AND WHO DO NOT OPT OUT OF THE
RELEASES PROVIDED BY THE PLAN; (Il) THE ORIGINAL PLAN SPONSORS; (JJ) OV2; (KK) ANY
AGENT UNDER THE EXIT FACILITIES; (LL) THE ROLLOVER TRUST TRUSTEE; (MM) THE NON-
ROLLOVER TRUST TRUSTEE; (NN) WITH RESPECT TO EACH OF THE DEBTORS (AND, PRIOR TO THE
TCEH EFFECTIVE DATE, THE TCEH DEBTORS AND THE EFH SHARED SERVICES DEBTORS), THE
REORGANIZED TCEH DEBTORS, THE REORGANIZED EFH SHARED SERVICES DEBTORS, AND THE
REORGANIZED EFH/EFIH DEBTORS, AND EACH OF THE FOREGOING ENTITIES IN CLAUSES (A)
THROUGH (MM), SUCH ENTITY AND ITS CURRENT AND FORMER AFFILIATES, AND SUCH
ENTITIES’ AND THEIR CURRENT AND FORMER AFFILIATES’ CURRENT AND FORMER DIRECTORS,
MANAGERS, OFFICERS, EQUITY HOLDERS (REGARDLESS OF WHETHER SUCH INTERESTS ARE
HELD DIRECTLY OR INDIRECTLY), PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES,
AND EACH OF THEIR RESPECTIVE CURRENT AND FORMER EQUITY HOLDERS, OFFICERS,
DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS, ADVISORY BOARD
MEMBERS, FINANCIAL ADVISORS, PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT
BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR

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CAPACITY AS SUCH; AND (OO) ALL HOLDERS OF CLAIMS AND INTERESTS, SOLELY WITH RESPECT
TO RELEASES OF ALL HOLDERS OF INTERESTS IN EFH CORP. AND THEIR CURRENT AND FORMER
AFFILIATES, AND SUCH ENTITIES’ AND THEIR AFFILIATES’ CURRENT AND FORMER EQUITY
HOLDERS (REGARDLESS OF WHETHER SUCH INTERESTS ARE HELD DIRECTLY OR INDIRECTLY),
PREDECESSORS, SUCCESSORS, AND ASSIGNS, SUBSIDIARIES, AND THEIR CURRENT AND FORMER
OFFICERS, DIRECTORS, MANAGERS, PRINCIPALS, MEMBERS, EMPLOYEES, AGENTS, ADVISORY
BOARD MEMBERS, FINANCIAL ADVISORS, PARTNERS, ATTORNEYS, ACCOUNTANTS, INVESTMENT
BANKERS, CONSULTANTS, REPRESENTATIVES, AND OTHER PROFESSIONALS, EACH IN THEIR
CAPACITY AS SUCH.

AS A “RELEASING PARTY” UNDER THE PLAN, YOU ARE DEEMED TO PROVIDE THE
RELEASES CONTAINED IN ARTICLE VUI-D OF THE PLAN, AS SET FORTH ABOVE. YOU MAY CHECK
THE BOX BELOW TO ELECT NOT TO GRANT THE RELEASE CONTAINED IN ARTICLE VIII.D OF THE
PLAN ONLY IF THE COURT DETERMINES THAT YOU HAVE THE RIGHT TO OPT-OUT OF THE
RELEASES AND ONLY IF YOU (A) SUBMIT THE BALLOT BUT ABSTAIN FROM VOTING TO ACCEPT
OR REJECT THE PLAN OR (B) VOTE TO REJECT THE PLAN. IN THE CASE OF SUCH A
DETERMINATION BY THE COURT, IF YOU VOTE TO REJECT THE PLAN, YOU WILL
AUTOMATICALLY BE CONSIDERED TO HAVE OPTED OUT OF THE RELEASES, REGARDLESS OF
WHETHER YOU CHECK THE BOX BELOW. IF YOU SATISFY THE ABOVE REQUIREMENTS AND
CHECK THE BOX BELOW (OR VOTE TO REJECT THE PLAN), YOUR OPT-OUT WILL ONLY BE
EFFECTIVE IF SO ORDERED BY THE COURT. REGARDLESS OF WHETHER THE COURT DETERMINES
THAT YOU HAVE A RIGHT TO OPT-OUT OF THE RELEASES, IF YOU (A) VOTE TO ACCEPT THE PLAN,
(B) FAIL TO SUBMIT A BALLOT BY THE VOTING DEADLINE, OR (C) SUBMIT THE BALLOT BUT
ABSTAIN FROM VOTING TO ACCEPT OR REJECT THE PLAN WITHOUT CHECKING THE BOX BELOW,
YOU WILL BE DEEMED TO CONSENT TO THE RELEASES SET FORTH IN ARTICLE VUI-D OF THE
PLAN.

PLEASE SUBMIT YOUR MASTER BALLOT PROMPTLY!

If you have any questions regarding this Ballot, or if you did not receive a copy of the EFH Disclosure
Statement or Plan, or if you need additional copies of the enclosed materials, please contact the Solicitation
Agent by phone at (646) 282-2500 or via email to efhvote@epiqsystems.com and reference “EFH/EFIH” in

the subject line.

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Exhibit A

Please check a box below to indicate the Class A6 EFH LBO Note Primary Claim and Class B5 EFH LBO Note
Guaranty Claim to which this Master Ballot pertains and add the CUSIP No. to Item 2 on page 4.

CLASS A6 — EFH LBO NOTE PRIMARY CLAIMS
CLASS B5 — EFH LBO NOTE GUARANTY CLAIMS

[CUSIP AS INDICATED ON ATTACHED EXHIBIT A]

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